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     asherman@sillscummis.com
 2   Boris I. Mankovetskiy (pro hac vice)
     bmankovetskiy@sillscummis.com
 3   SILLS CUMMIS & GROSS P.C.
     One Riverfront Plaza
 4   Newark, NJ 07102
     Telephone: (973) 643-7000
 5   Facximile: (973) 643-6500

 6   Co-Counsel to the Official Committee of
     Unsecured Creditors of Gardens Regional
 7   Hospital and Medical Center

 8   -and-

 9   Steven Jay Katzman, State Bar No. 132755
     skatzman@bmkattorneys.com
10   Anthony Bisconti, State Bar No. 269230
     tbisconti@bmkattorneys.com
11   BIENERT, MILLER & KATZMAN, PLC
     903 Calle Amanecer, Suite 350
12
     San Clemente, California 92673
13   Telephone: (949) 369-3700
     Facsimile: (949) 369-3701
14
     Co-Counsel to the Official Committee of
15   Unsecured Creditors of Gardens Regional
     Hospital and Medical Center
16

17                               UNITED STATES BANKRUPTCY COURT

18                  CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

19

20   In re:                                       Case No. 2:16-bk-17463-ER

21   GARDENS REGIONAL HOSPITAL AND                Chapter 11
     MEDICAL CENTER, INC., dba GARDENS
22   REGIONAL HOSPITAL AND MEDICAL
     CENTER,                                      SILLS CUMMIS & GROSS P.C.’S MONTHLY
23                                                FEE APPLICATION FOR ALLOWANCE AND
                                                  PAYMENT OF INTERIM COMPENSATION AND
24                   Debtor.                      REIMBURSEMENT OF EXPENSES FOR THE
                                                  PERIOD FROM DECEMBER 1, 2016 THROUGH
25                                                DECEMBER 31, 2016

26                                                [No Hearing Required Pursuant to L.B.R. 9013-1(o)]

27

28
                                                    1
              SILLS CUMMIS & GROSS P.C.’S MONTHLY FEE APPLICATION FOR ALLOWANCE AND PAYMENT
                OF INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
                                 DECEMBER 1, 2016 THROUGH DECEMBER 31, 2016
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 1          1.      Sills Cummis & Gross P.C. (the “Firm”) submits its Monthly Fee Application (the

 2   “Application”) for Allowance and Payment of Interim Compensation and Reimbursement of Expenses

 3   for the Period December 1, 2016 – December 31, 2016 (the “Application Period”) for work performed

 4   for the Official Committee of Unsecured Creditors (the “Committee”). In support of the Application, the

 5   Firm respectfully represents as follows:

 6          2.      The Firm is co-counsel to the Committee. The Firm hereby applies to the Court for

 7   allowance and payment of interim compensation for services rendered and reimbursement of expenses

 8   incurred during the Application Period.

 9          3.      The Firm billed a total of $45,242.641 in fees and expenses during the Application Period.
10   The total fees represent 100.1 hours expended during the period covered by this Application at a blended

11   hourly rate of $450 pursuant the Firm’s retention application. These fees and expenses break down as

12   follows:

13   Period                            Fees                    Expenses                  Total
     12/1/2016 – 12/31/2016            $45,045.00              $197.64                   $45,242.64
14

15          4.      Accordingly, the Firm seeks allowance of interim compensation in the amount of a total of
16   $36,233.64 at this time. This total is comprised as follows: $36,036.00 (80% of the fees for services
17   rendered) plus $197.64 (100% of the expenses incurred). To the extent that the combined fees of the
18   Firm and Bienert, Miller & Katzman, PLC (the collective co-counsel to the Committee for the
19   Application Period) exceed the $50,000-per-month cap set forth in the firms’ retention applications
20   for the Application Period, the Firm requests payment of its proportional share of the $50,000-per-
21   month fee cap (together with 100% of the Firm’s expenses), with payment of the remainder of 80%
22   of the Firm’s fees for the Application Period deferred as set forth in its retention application.
23          5.      For the postpetition period, the Firm has been paid to date as follows:
24   Application Period                  Amount                               Description
     6/6/2016 (retained as of            $0 (but see below)                   No amounts paid (but see below)
25   7/5/2016)-8/31/2016
26   9/1/2016-9/30/2016                  $0 (but see below)                   No amounts paid (but see below)

27   1
      These amounts include fees and expenses for both matter 000001 (“Creditors’ Committee”) and matter
28   000002 (“Lien Investigation”), invoices for which are attached hereto as Exhibits C and D.
                                                        2
          SILLS CUMMIS & GROSS P.C.’S MONTHLY FEE APPLICATION FOR ALLOWANCE AND PAYMENT
            OF INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
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 1   10/1/2016 – 10/31/2016              $0 (but see below)                  No amounts paid (but see below)
     11/1/2016 – 11/30/2016              $0 (but see below)                  No amounts paid (but see below)
 2   Total Paid to the Firm to Date      $38,950.00                          In December 2016, the Debtor
 3                                                                           allocated $150,000 to be paid
                                                                             toward all estate professionals’
 4                                                                           outstanding fees and expenses
                                                                             pursuant to the authorized
 5                                                                           interim fee procedures. The
                                                                             payment was not allocated to any
 6                                                                           specific application period, but
 7                                                                           rather to the total amount of fees
                                                                             and costs accrued and
 8                                                                           outstanding. Of this amount,
                                                                             $50,000 was disbursed to the
 9                                                                           Committee’s counsel, which was
                                                                             then distributed pro-rata between
10                                                                           the Committee’s retained
11                                                                           professionals. As a result, the
                                                                             Firm has received payment of
12                                                                           $38,950.00 toward its
                                                                             outstanding fees and costs
13                                                                           previously submitted pursuant to
                                                                             the Court-approved interim fee
14
                                                                             procedures.
15
            6.       To date, the Firm is owed as follows (excluding amounts owed pursuant to this
16
     Application):
17
     Application Period                  Amount                              Description
18   6/6/2016 (retained as of            $153,336.44 (but see below)         Fees and expenses set forth in
     7/5/2016)-8/31/2016                                                     application filed September 26,
19                                                                           2016 [Docket No. 417]
     9/1/2016-9/30/2016                  $60,687.35 (but see below)          Fees and expenses set forth in
20                                                                           application filed October 25,
21                                                                           2016 [Docket No. 476]
     10/1/2016 – 10/31/2016              $60,387.72 (but see below)          Fees and expenses set forth in
22                                                                           application filed November 22,
                                                                             2016 [Docket No. 544]
23   11/1/2016 – 11/30/2016              $93,355.00 (but see below)          Fees and expenses set forth in
                                                                             application filed December 27,
24
                                                                             2016 [Docket No. 588]
25   Total Owed to the Firm to Date $328,816.51                              Total owed takes into account the
                                                                             $38,950.00 received by the Firm
26                                                                           as set forth above.
27          7.       Attached as Exhibit A hereto is the name of each professional who performed services in

28   connection with this case during the period covered by this Application and the hourly rate for each such
                                                        3
          SILLS CUMMIS & GROSS P.C.’S MONTHLY FEE APPLICATION FOR ALLOWANCE AND PAYMENT
            OF INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
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 1   professional. Attached as Exhibit B hereto are the detailed time and expense statements for the
 2   Application Period. Attached hereto as Exhibits C and D are the Firm’s invoices for the Application
 3   Period.

 4             8.     The Firm has served a copy of this Application on the Office of the United States Trustee

 5   the above-captioned debtor (the “Debtor”), counsel to the Debtor, and counsel to the Committee

 6   appointed in this case. The Application was mailed by first class mail, postage prepaid, on or about

 7   January 25, 2017. Notice of the filing of this Application was also served on the foregoing parties as

 8   well as any party who has requested special notice in this chapter 11 case as of the date of the Notice.

 9   The Notice was mailed by first class mail, postage prepaid, on or about January 25, 2017.

10             9.     Pursuant to this Court’s Order Authorizing Interim Fee Procedures that was entered on or

11   about September 20, 2016, the Debtor is authorized to make the payment requested herein without

12   further hearing or order of this Court unless an objection to this Application is filed with the Court and

13   served upon the Notice Parties within ten (10) calendar days after the date of mailing of the Notice of this

14   Application. If such an objection is filed, the Debtor is authorized to pay 80% of the uncontested fees and

15   100% of the uncontested expenses without further order of the Court. If no objection is filed, the Debtor

16   is authorized to pay 80% of all fees requested in the Application and 100% of the uncontested expenses

17   without further order of the Court.

18             10.    The interim compensation and reimbursement of expenses sought in this Application is

19   not final. Upon the conclusion of this case, the Firm will seek fees and reimbursement of the expenses

20   incurred for the totality of the services rendered in this case. Any interim fees or reimbursement of

21   expenses approved by this Court and received by the Firm (along with any retainer) will also be credited

22   against such final fees and expenses as may be allowed by this Court.

23             In light of the forgoing, the Firm respectfully requests that the Debtor pay compensation to the

24   Firm as requested herein pursuant to and in accordance with the terms of the Order Authorizing Interim

25   Fee Procedures and prior orders of this Court.

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                                                            4
           SILLS CUMMIS & GROSS P.C.’S MONTHLY FEE APPLICATION FOR ALLOWANCE AND PAYMENT
             OF INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
                              DECEMBER 1, 2016 THROUGH DECEMBER 31, 2016
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 1   Dated: January 25, 2017                   SILLS CUMMIS & GROSS P.C.

 2                                             By: /s/ Andrew H. Sherman
                                                   Andrew H. Sherman
 3
                                                   Boris I. Mankovetskiy
 4                                                 Co-Counsel to the Official Committee
                                                   of Unsecured Creditors of Gardens Regional
 5                                                 Hospital and Medical Center
 6                                             -and-
 7
                                               BIENERT, MILLER & KATZMAN, PLC
 8
                                               By: /s/ Anthony R. Bisconti
 9                                                 Steven Jay Katzman
                                                   Anthony R. Bisconti
10                                                 Co-Counsel to the Official Committee
11                                                 of Unsecured Creditors of Gardens Regional
                                                    Hospital and Medical Center
12

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                                                5
          SILLS CUMMIS & GROSS P.C.’S MONTHLY FEE APPLICATION FOR ALLOWANCE AND PAYMENT
            OF INTERIM COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
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                               EXHIBIT A
                  SILLS CUMMIS & GROSS P.C.’S PROFESSIONALS

         Professional                   Title                     Rate
      Andrew H. Sherman               Member                     $525.00
      Boris Mankovetskiy              Member                     $475.00
      Lucas F. Hammonds               Associate                  $350.00




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                                             EXHIBIT B
                      SILLS CUMMIS & GROSS P.C.’S TIME AND EXPENSES1

Fees:

  Project Category                      Task Code               Hours                       Fees
Asset Disposition                          102                   21.5                    $10,482.50
Business Operations                        103                     .8                      $380.00
Case Administration                        104                    7.0                     $3,250.00
Claims                                     105                   46.2                    $22,430.00
Administration and
Objections
Fee/Employment                              107                   1.3                      $455.00
Applications
Financing                                   109                   4.0                    $2,000.00
Litigation (Other than                      110                  17.5                    $6,125.00
Avoidance Action
Litigation)
Plan and Disclosure                         113                   1.8                      $855.00
Statement
Totals:                                                         100.1                   $45,977.50
Total at Blended                                                                        $45,045.002
Rate of $450/Hour:


Expenses:

     Expense Category                               Code                             Expenses
Copying                                             E101                               $13.20
Online Research                                     E106                              $184.44
Totals:                                                                               $197.64




1
  The hours, fees, and expenses on this exhibit include the hours, fees, and expenses for both matter 000001
(“Creditors’ Committee”) and matter 000002 (“Lien Investigation”).
2
    Applicable rate per retention application.


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                            EXHIBIT C
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                                 S ILLS C UMMIS & G ROSS
                                            A PROFESSIONAL CORPORATION

                                         THE LEGAL CENTER
                                       ONE RIVERFRONT PLAZA
                                     NEWARK, NEW JERSEY 07102-5400
                                             (973) 643-7000


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Official Committee of Unsecured Creditors
Gardens Regional Hospital & Medical Center, Inc.
c/o Lenders Funding, LLC
Attn: Mr. Robert Zadek, Committee Chairman
1001 Bridgeway, #721
Sausalito, CA 94965
                                                                                     FEI # XX-XXXXXXX

Re:   Creditor's Committee


For legal services rendered through December 31, 2016.

                                                                                   HOURS

102 - ASSET DISPOSITION
Val




12/01/16    AHS        102         Prepare for and attend status call with           0.60
                                   Debtor's counsel and buyer re: AG meeting
                                   and status toward closing.
12/01/16    BM         102         Attend to KPC's proposed revisions of             1.70
                                   closing documents.
                       102         Analysis of issues regarding potential            1.40
                                   resolution of issues triggered by AG's
                                   conditional approval of the sale.
12/02/16    AHS        102         Review of emails re: sales process and            0.40
                                   attend status call with Debtor's counsel and
                                   buyer.
                       102         Review of supplemental status report from         0.20
                                   Le Summit.
12/02/16    BM         102         Attend to issues regarding the estate's           1.80
                                   request for relief from certain conditions to
                                   approval of the sale imposed by CA AG.
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                   102         Analysis regarding alternative paths            1.70
                               forward to the extent closing on the terms
                               of the existing APA is unable to occur.
                   102         Analysis regarding Le Summit's response to      0.60
                               debtor's status report.
12/05/16   AHS     102         Calls and emails re: update regarding           0.40
                               meeting with AG re: approval for sale.
12/05/16   BM      102         Analysis of issues in light of debtors',        0.70
                               purchaser's and unions' representatives'
                               meeting with AG's office regarding relief
                               from certain sale approval conditions.
12/07/16   AHS     102         Attend status conference and follow up          0.40
                               calls with Debtor's counsel re: same and
                               lack of response from CA AG.
12/09/16   AHS     102         Review of letter as sent by J. Moe and          1.80
                               analysis re: same.
                   102         Call with J. Moe re: sale status and letter     0.40
                               response from CA AG.
                   102         Call to AG office re: sale status.              0.10
12/09/16   BM      102         Analysis regarding alternative scenarios to     0.80
                               maximize value of the estate in the event
                               there is no closing of the sale to KPC.
                   102         Analysis regarding potential settlement of      1.20
                               QAF issues and relief from certain
                               conditions of AG's sale approval.
12/12/16   BM      102         Attend to issues regarding status of sale       1.20
                               closing and additional financing
                               requirement.
12/14/16   BM      102         Attend to sale closing issues.                  0.80
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12/15/16   BM      102         Analysis regarding alternative scenarios to      0.90
                               maximize value for creditors in light of
                               Court's establishment of January 16, 2017
                               to close the sale to KPC.
12/16/16   AHS     102         Review of letter from AG re: response to         0.70
                               charity care and calls with S. Maizel and J.
                               Moe in response and strategy re: same.
12/16/16   BM      102         Analysis regarding potential modifications       1.30
                               of the KPC APA to achieve closing.
12/19/16   AHS     102         Call with S. Maizel re: status update            0.40
                               (meeting with proposed buyer) and analysis
                               re: same.
12/19/16   BM      102         Attend to issues regarding potential             0.80
                               modifications of the APA with KPC.
12/23/16   BM      102         Attend to sale closing issues.                   1.20

                    TASK TOTAL 102                                              21.50       10,482.50

103 - BUSINESS OPERATIONS
Val




12/05/16   BM      103         Analysis regarding debtor's financial report     0.50
                               and need for additional financing.
12/20/16   BM      103         Analysis regarding debtor's financial            0.30
                               reporting.

                    TASK TOTAL 103                                               0.80         380.00

104 - CASE ADMINISTRATION
Val




12/01/16   BM      104         Review PCO's first interim report.               0.30
                   104         Attend to issues regarding debtor's status       0.70
                               report to the Court.
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12/08/16   BM      104         Attend to motion to extend exclusivity.          0.40
                   104         Attend to motion to extend time to remove        0.30
                               actions.
12/09/16   BM      104         Analysis of debtor's response to AG's            2.20
                               follow up audit letter and related
                               documents.
12/15/16   BM      104         Attend telephonically hearing on                 0.70
                               emergency motion to approve additional
                               DIP financing.
12/16/16   BM      104         Analysis regarding next steps in the case in     1.20
                               light of AG's refusal to reconsider sale
                               approval conditions.
12/22/16   LFH     104         Prepare stipulation extending challenge          0.60
                               deadline.

                    TASK TOTAL 104                                               6.40        2,965.00

105 - CLAIMS ADMINISTRATION AND OBJECTIONS
Val




12/02/16   AHS     105         Email to K. Yood re: 502(d) issues and call      0.30
                               with J. Moe re: same.
12/02/16   BM      105         Analysis of issues regarding US's claims         1.20
                               relating to medicare investigation and
                               alleged overpayments.
12/19/16   AHS     105         Emails with Office of United States              0.60
                               Attorney re: sealing issues and proposed
                               order re: same.

                    TASK TOTAL 105                                               2.10        1,042.50

107 - FEE/EMPLOYMENT APPLICATIONS
Val




12/27/16   LFH     107         Prepare fee notice for November 2016.            1.30
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                    TASK TOTAL 107                                              1.30         455.00

109 - FINANCING
Val




12/12/16   AHS     109         Review of motion for DIP financing and          0.80
                               emails re: same regarding questions posed
                               by motion.
12/12/16   BM      109         Attend to motion to amend existing DIP          1.20
                               financing order.
12/13/16   AHS     109         Email to Committee re: DIP motion and           0.40
                               status update.
12/13/16   BM      109         Attend to proposed DIP financing budget         0.80
                               and adequate protection issues with respect
                               to alleged secured creditors.

                    TASK TOTAL 109                                              3.20        1,580.00

110 - LITIGATION (OTHER THAN AVOIDANCE ACTION LITIGATION)
Val




12/21/16   LFH     110         Analyze discovery motion issues.                0.80

                    TASK TOTAL 110                                              0.80         280.00



                    TOTAL FEES at Discounted Rates                            36.10      $17,185.00

                    TOTAL FEES at Blended Rate of $450                        36.10      $16,245.00

TASK CODE SUMMARY

           102       Asset Disposition                                        21.50       10,482.50
           103       Business Operations                                       0.80          380.00
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           104       Case Administration                                         6.40        2,965.00
           105       Claims Administration and Objections                        2.10        1,042.50
           107       Fee/Employment Applications                                 1.30          455.00
           109       Financing                                                   3.20        1,580.00
           110       Litigation (Other than Avoidance Action                     0.80          280.00
                     Litigation)


                    TOTAL FEES at Discounted Rates                              36.10      $17,185.00

                    TOTAL FEES at Blended Rate of $450                          36.10      $16,245.00


FEE RECAP
        BM         Boris Mankovetskiy                                $475.00     25.90      12,302.50
        AHS        Andrew H. Sherman                                 $525.00      7.50       3,937.50
        LFH        Lucas F. Hammonds                                 $350.00      2.70         945.00


                    TOTAL FEES at Discounted Rates                              36.10      $17,185.00

                    TOTAL FEES at Blended Rate of $450                          36.10      $16,245.00

DISBURSEMENT DETAIL

E101
12/12/16    E101        Copying                                                                   13.20

E105
09/19/16    E105        Telephone                                                                  3.29
09/26/16    E105        Telephone                                                                  5.45
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                                NEWARK, NEW JERSEY 07102-5400
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E106
10/06/16    E106       Online research                                                   0.10
10/06/16    E106       Online research                                                   2.90
10/06/16    E106       Online research                                                   0.30
10/06/16    E106       Online research                                                   2.90
10/06/16    E106       Online research                                                   1.30
10/06/16    E106       Online research                                                   0.80
10/06/16    E106       Online research                                                   0.10
10/06/16    E106       Online research                                                   0.80
10/06/16    E106       Online research                                                   0.50
10/06/16    E106       Online research                                                   3.00
10/06/16    E106       Online research                                                   0.50
10/06/16    E106       Online research                                                   0.70
10/06/16    E106       Online research                                                   1.20
10/06/16    E106       Online research                                                   3.00
10/06/16    E106       Online research                                                   2.90
10/06/16    E106       Online research                                                   0.40
10/06/16    E106       Online research                                                   0.20
10/06/16    E106       Online research                                                   0.70
10/06/16    E106       Online research                                                   0.10
10/06/16    E106       Online research                                                   0.70
10/06/16    E106       Online research                                                   2.90
10/06/16    E106       Online research                                                   0.10
10/06/16    E106       Online research                                                   2.90
10/06/16    E106       Online research                                                   1.00
10/06/16    E106       Online research                                                   0.10
10/06/16    E106       Online research                                                   0.20
10/06/16    E106       Online research                                                   3.00
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10/06/16    E106       Online research                                                   0.60
10/06/16    E106       Online research                                                   3.00
10/06/16    E106       Online research                                                   0.80
10/06/16    E106       Online research                                                   0.10
10/06/16    E106       Online research                                                   0.50
10/11/16    E106       Online research                                                   3.00
10/11/16    E106       Online research                                                   0.20
10/11/16    E106       Online research                                                   1.10
10/11/16    E106       Online research                                                   2.80
10/11/16    E106       Online research                                                   0.20
10/11/16    E106       Online research                                                   0.20
10/11/16    E106       Online research                                                   0.40
10/11/16    E106       Online research                                                   0.50
10/11/16    E106       Online research                                                   0.20
10/11/16    E106       Online research                                                   1.00
10/11/16    E106       Online research                                                   2.40
10/11/16    E106       Online research                                                   1.00
10/11/16    E106       Online research                                                   0.10
10/11/16    E106       Online research                                                   0.70
10/11/16    E106       Online research                                                   0.70
10/11/16    E106       Online research                                                   1.10
10/11/16    E106       Online research                                                   1.00
10/14/16    E106       Online research                                                   3.00
10/14/16    E106       Online research                                                   0.20
10/16/16    E106       Online research                                                   3.00
10/16/16    E106       Online research                                                   0.20
10/16/16    E106       Online research                                                   3.00
10/18/16    E106       Online research                                                   3.00
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10/18/16    E106       Online research                                                   0.90
10/18/16    E106       Online research                                                   3.00
10/18/16    E106       Online research                                                   0.50
10/18/16    E106       Online research                                                   1.70
11/06/16    E106       Online research                                                   0.10
11/06/16    E106       Online research                                                   3.00
11/06/16    E106       Online research                                                   2.30
11/07/16    E106       Online research                                                   2.50
11/07/16    E106       Online research                                                   0.90
11/07/16    E106       Online research                                                   0.30
11/07/16    E106       Online research                                                   0.40
11/07/16    E106       Online research                                                   1.60
11/16/16    E106       Online research                                                   3.00
11/16/16    E106       Online research                                                   1.30
11/16/16    E106       Online research                                                   0.60
11/16/16    E106       Online research                                                   0.70
11/16/16    E106       Online research                                                   2.70
11/18/16    E106       Online research                                                   2.30
11/21/16    E106       Online research                                                   2.20
11/21/16    E106       Online research                                                   2.40
11/21/16    E106       Online research                                                   0.10
11/21/16    E106       Online research                                                   3.00
11/21/16    E106       Online research                                                   0.50
11/21/16    E106       Online research                                                   2.20
11/21/16    E106       Online research                                                   3.00
11/21/16    E106       Online research                                                   3.00
11/21/16    E106       Online research                                                   2.40
11/21/16    E106       Online research                                                   2.80
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11/28/16    E106       Online research                                                                    3.00
11/28/16    E106       Online research                                                                    0.40
11/28/16    E106       Online research                                                                    0.80
11/28/16    E106       Online research                                                                    0.40
12/21/16    E106       Online research                                                                    5.58
12/21/16    E106       Online research                                                                   32.73
12/21/16    E106       Online research                                                                   16.09
                    TOTAL DISBURSEMENTS                                                               $197.64

DISBURSEMENT RECAP
        Code   Description                                                       Units                  Total
        E101   Copying                                                           88.00                  13.20
        E105   Telephone                                                          2.00                   8.74
        E106   Online research                                                1,216.00                 175.70
                    TOTAL DISBURSEMENTS                                                               $197.64


                    TOTAL THIS INVOICE                                                             $16,442.64


                                                           *Total includes fees at Blended Rate. Per Retention
                                                           Application, lesser of combined fees at Discounted
                                                           Rates for matters 000001 and 00002 ($45,977.50) and
                                                           combined fees at Blended Rate of $450 ($45,045.00)
                                                           applies.
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Official Committee of Unsecured Creditors
Gardens Regional Hospital & Medical Center, Inc.
c/o Lenders Funding, LLC
Attn: Mr. Robert Zadek, Committee Chairman
1001 Bridgeway, #721
Sausalito, CA 94965
                                                                                      FEI # XX-XXXXXXX

Re:   Lien Investigation


For legal services rendered through December 31, 2016.

                                                                                    HOURS

104 - CASE ADMINISTRATION
Val




12/09/16    BM         104         Attend to issues regarding R. 2004                 0.60
                                   examination of B. Weiner.

                           TASK TOTAL 104                                              0.60         285.00

105 - CLAIMS ADMINISTRATION AND OBJECTIONS
Val




12/01/16    AHS        105         Meeting with counsel to Harbor Gardens re:         1.20
                                   lien issues and possible resolution of issues.
12/02/16    AHS        105         Email from Harbor re: extension and                0.30
                                   analysis re: same.
12/02/16    BM         105         Attend to issues regarding potential               0.80
                                   settlement with Harbor and extension of
                                   challenge period.
                       105         Analysis regarding protective conditions for       0.60
                                   Sheppard Mullin's document productions.
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12/06/16   BM      105         Analysis of RNG's correspondence                1.20
                               regarding refusal to cooperate with further
                               discovery and the Committee's responsive
                               steps.
                   105         Research and analysis of issues regarding       1.30
                               avoidance of releases as fraudulent
                               transfers.
12/07/16   AHS     105         Email to G. Klausner re: extension of lien      0.70
                               investigation period.
12/07/16   BM      105         Analysis regarding Roxbury/Sycamore's           0.30
                               correspondence regarding conditions for
                               further extension of challenge period and
                               Committee's next steps in light thereof.
                   105         Research and analysis regarding draft           2.20
                               notice of dispute of alleged secured claims
                               of Roxbury/Sycamore.
                   105         Draft correspondence to Roxbury/Sycamore        0.40
                               regarding status of committee's
                               investigation and extension of challenge
                               proposal.
                   105         Attend to revised proposal for a global         1.30
                               settlement with Harbor/Paladin.
                   105         Prepare a status report to committee            0.40
                               regarding proposed settlement with
                               Harbor/Paladin.
12/08/16   AHS     105         Review and analysis of email from G.            0.30
                               Klausner re: response to request for
                               extension of lien investigation period.
                   105         Revise email and circulate settlement           0.40
                               proposal to counsel for Harbor Gardens.
12/08/16   BM      105         Analysis regarding Roxbury/Sycamore's           0.40
                               correspondence regarding Committee's
                               investigation.
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12/09/16   AHS     105         Draft and send email to G. Klausner re:          0.20
                               Roxbury and Sycamore dispute issues.
                   105         Call and email to K. Block re: lien issues.      0.20
                   105         Review and analysis of Sheppard Mullin           0.80
                               document production.
12/09/16   BM      105         Attend to draft notice of dispute of alleged     1.70
                               secured claims of Roxbury/Sycamore.
                   105         Review document productions in                   1.30
                               connection with committee's investigation
                               of alleged secured claims.
12/12/16   AHS     105         Call with G. Klausner re: dispute period         0.70
                               extension issues and analysis re: same.
                   105         Emails to Karl Block re: Harbor extension        0.40
                               issues and follow up regarding executed
                               copy of Roxbury agreement.
12/12/16   BM      105         Research and analysis regarding notice of        1.70
                               dispute to Roxbury/Sycamore.
12/13/16   AHS     105         Review, revise and circulate extension           0.40
                               stipulation with Roxbury and obtain
                               signatures and have filed.
                   105         Review of email from K. Block and                0.30
                               respond to same.
12/13/16   BM      105         Draft stipulation extending the dispute          0.60
                               deadline with respect to Roxbury and
                               Sycamore.
                   105         Review and analysis of document                  2.20
                               productions in connection with Committee's
                               investigation.
12/14/16   BM      105         Attend to modified settlement proposal to        0.80
                               Harbor-Gardens.
12/16/16   AHS     105         Analysis regarding AG document                   0.80
                               production and dispute issues.
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12/16/16   BM      105         Research and analysis regarding notice of       2.20
                               dispute of alleged secured claim of Harbor.
                   105         Draft notice of dispute of alleged secured      4.60
                               claim of Harbor.
12/20/16   BM      105         Review and analysis of document                 2.30
                               productions in connection with
                               investigation of alleged secured claims and
                               potential causes of action against alleged
                               secured creditors and their affiliates.
12/21/16   BM      105         Attend to issues regarding motion to            0.70
                               enforce R. 2004 order against RNG.
                   105         Review and analysis of document                 1.80
                               productions in connection with
                               investigation potential causes of action
                               against alleged secured creditors and their
                               affiliates.
12/22/16   BM      105         Research and analysis regarding challenge       1.80
                               of asserted secured claim of Harbor-
                               Gardens.
                   105         Attend to notice of dispute of the alleged      1.70
                               secured claim of Harbor-Gardens.
12/23/16   BM      105         Review and analysis of document                 1.70
                               productions in connection with
                               investigation of alleged secured claims.
12/28/16   AHS     105         Review and revise dispute letter and review     1.40
                               of 9th circuit law in connection with
                               disputes address in Harbor letter.
                   105         Review of Harbor documents in connection        0.80
                               with drafting and revising dispute letter.
                   105         Review of comments to Harbor letter as          0.40
                               received and call with Debtor's counsel re:
                               Harbor and sales status update.
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12/28/16   BM      105         Attend to dispute notice to Harbor.             0.60
12/28/16   LFH     105         Review notice of dispute regarding Harbor       0.20
                               Gardens claims.

                    TASK TOTAL 105                                             44.10       21,387.50

109 - FINANCING
Val




12/07/16   AHS     109         Review and revise settlement proposal for       0.80
                               Harbor and send to Committee for
                               approval.

                    TASK TOTAL 109                                              0.80         420.00

110 - LITIGATION (OTHER THAN AVOIDANCE ACTION LITIGATION)
Val




12/19/16   LFH     110         Prepare motion to compel discovery from         1.40
                               RollinsNelson.
                   110         Analyze issues relating to RollinsNelson        1.30
                               discovery responses and motion to compel.
12/20/16   LFH     110         Review and analyze correspondence with          1.20
                               counsel to RollinsNelson regarding
                               document productions.
                   110         Analyze issues relating to motion to compel     0.90
                               discovery from RollinsNelson.
                   110         Review and analyze prior motion and order       0.80
                               granting Rule 2004 discovery against
                               RollinsNelson.
                   110         Prepare motion to compel discovery from         3.60
                               RollinsNelson.
12/21/16   LFH     110         Research and analyze issues relating to         1.10
                               motion to compel discovery from
                               RollinsNelson.
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                   110         Prepare motion to compel discovery from          3.30
                               RollinsNelson.
                   110         Prepare joint stipulation regarding              2.70
                               discovery dispute with RollinsNelson.
12/22/16   LFH     110         Prepare correspondence with counsel to           0.40
                               RollinsNelson regarding outstanding
                               discovery issues and joint discovery dispute
                               stipulation.

                    TASK TOTAL 110                                              16.70        5,845.00

113 - PLAN AND DISCLOSURE STATEMENT
Val




12/15/16   BM      113         Review and analysis of document                  1.80
                               productions in connection with the
                               investigation of alleged secured claims.

                    TASK TOTAL 113                                               1.80         855.00



                    TOTAL FEES at Discounted Rates                             64.00      $28,792.50

                    TOTAL FEES at Blended Rate of $450                         64.00      $28,800.00

TASK CODE SUMMARY

           104       Case Administration                                        0.60          285.00
           105       Claims Administration and Objections                      44.10       21,387.50
           109       Financing                                                  0.80          420.00
           110       Litigation (Other than Avoidance Action                   16.70        5,845.00
                     Litigation)
           113       Plan and Disclosure Statement                              1.80          855.00
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                  TOTAL FEES at Discounted Rates                                      64.00         $28,792.50

                  TOTAL FEES at Blended Rate of $450                                  64.00         $28,800.00


FEE RECAP
        BM       Boris Mankovetskiy                                 $475.00            37.00         17,575.00
        LFH      Lucas F. Hammonds                                  $350.00            16.90          5,915.00
        AHS      Andrew H. Sherman                                  $525.00            10.10          5,302.50


                  TOTAL FEES at Discounted Rates                                      64.00         $28,792.50

                  TOTAL FEES at Blended Rate of $450                                  64.00         $28,800.00

                  TOTAL THIS INVOICE                                                                $28,800.00


                                                            *Total includes fees at Blended Rate. Per Retention
                                                            Application, lesser of combined fees at Discounted
                                                            Rates for matters 000001 and 00002 ($45,977.50) and
                                                            combined fees at Blended Rate of $450 ($45,045.00)
                                                            applies.
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

903 Calle Amanecer, Ste. 350
San Clemente, CA 92672

A true and correct copy of the foregoing document entitled (specify): SILLS CUMMIS & GROSS P.C.’S MONTHLY FEE
APPLICATION FOR ALLOWANCE AND PAYMENT OF INTERIM COMPENSATION AND REIMBURSEMENT
OF EXPESNES FOR THE PERIOD FROM DECEMBER 1, 2016 THROUGH DECEMBER 31, 2016 will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
1/25/17, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:



                                                                                             Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 1/25/17, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.


                                                                                             Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 1/25/17, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

Hon. Ernest M. Robles
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and U.S. Courthouse
255 East Temple Street/Courtroom 1568
Los Angeles, CA 90012



                                                                                             Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 1/25/17                      Carolyn K. Howland                                               /s/ Carolyn K. Howland
 Date                           Printed Name                                                     Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

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        glenda.spratt@dentons.com,laurie.soledad@dentons.com,jennifer.wall@dentons.com,andy.jinnah@dentons.com
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       Steven G Polard stevenpolard@dwt.com, melissastrobel@dwt.com;Linapearmain@dwt.com
       Kurt Ramlo kr@lnbyb.com, kr@ecf.inforuptcy.com
       David M Reeder dmr@vrmlaw.com, jle@vrmlaw.com
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       Alan Stomel alan.stomel@gmail.com, astomel@yahoo.com
       Tiffany Strelow Cobb tscobb@vorys.com
       Wayne R Terry wterry@hemar-rousso.com
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2. SERVED BY UNITED STATES MAIL
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